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                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

 In Re:                                      :     Case No. 13-40091-399
                                             :
 Shell J. Sharp,                                   :     Chapter 7
                                            :
                Debtor.                     :
 ______________________________________________________________________________
                                            :
 MICHAEL HOLMES,                            :
                                            :
                Plaintiff,                  :
                                            :
                vs.                         :    Adversary No. 17-04060-399
                                            :
 Shell J. Sharp                                  :
                                            :
                Defendant.                  :
                                            :
 : : : : : : : : : : : : : : : : : : : : : : : :


                                        NOTICE

          NOW COMES Plaintiff, MICHAEL HOLMES, by and through his attorneys,

 LOEVY& LOEVY, and provides the following Notice:

          1.   On October 13, 2107, in Michael Holmes v. Bobby Lee Garrett, No. 17-

 1309 (8th Cir., pending), the Clerk of Court, in granting their motion for an

 extension of time to file, ordered that the Reply brief of Bobby Lee Garrett and Shell

 Sharp is due on October 25, 2017.

          2.   In addition, and also on October, 13, 2017, the Court issued a notice

 that Michael Holmes v. Bobby Lee Garrett, No. 17-1309 (8th Cir., pending), has been
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 screened for oral argument, though the exact date of the oral argument has not

 been set.

                                                      Respectfully submitted,

                                                      /s/ David B. Owens
                                                      Attorney for Plaintiff



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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was served on
 counsel of record on October 16, 2017 via the Court’s CM/ECF filing system.

                                                      /s/ David B. Owens




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